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IN THE UNITED sTATEs DlsTRICT COURT F\\.ED emi€r% D-‘*~
FoR THE wEsTERN DISTRICT 0F TENNESSEE

 

wEsTERN DIvlsloN 05 LUG -h P“ 3’ 09
UNITED sTATEs 0F AMERICA, § M“%M§SQT§YDQM
Piaimiff, ) W'@ C'; " 0
v. § ease No. 02-20165-D/P
ALle IRWIN Moss, et al., §
Defendants. §

 

AMENDED ORDER GRANTING IN PART AND DENYING IN PART THE MOTION
OF THE UNITED STATES REQUESTING THEl COURT TO DENY DEFENDANTS’
PROPOSED ORDER REQUIRING APPEARANCE OF WITNESSES

 

Before the Court is the motion of the United States of America to deny Det`endants’ proposed
order requiring appearance of witnesses For the following reasons, the Court hereby GRANTS in
part and DENIES in part the government’s motion.

On July 29, 2005, the Court entered an Order requiring the appearance of certain witnesses
Defendants raised this issue ore terms during the July 22, 2005 hearing. It appears that the July 29,
2005 Order addresses witnesses for whom subpoenas were not issued. Accordingly, the Court’s July
29, 2005 Order is modified to address only those witnesses for whom valid subpoenas have been
issued.

Additionally, the Government is not required to produce any documentation which
constitutes work product. However, the Governrnent must produce documents which constitute

Brady or Giglio material. If necessary, the Court will conduct an in-camera review of any disputed

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documents

  

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with Rula 55 end/or 32(b) FHCrP on

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The United States must comply with this order in preparation for the August 10, 2005

hearing.

IT IS SO ORDERED this if 1 h d day of August, 2005,

 

 

BERNICE BOUIE DONALD
UNITED STATE DISTRICT COURT

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 581 in
case 2:02-CR-20165 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

